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Fill ill liti$i irlll)r'rll:lfic_»ll in illcnl`il`\-' \'ull:‘ case

 

UNI’I`ED STATES BANKRUPTCY COURT DISTRICT OF COLORADO

 

 

Debtor l; 11380 SMlTH RD LLC Case # 13-10965 TBM
First Name Middle Name Last Name

Debtor 2: Chapter 11
Firsl Name Middle blame Last Name

 

 

Local Bankrupt¢_:y Form 1009-1.1
Corrected Notice of Amendment of Petition, Lists, Schedules, Statements, and.+'or Addition of Creditors

 

Please check applicable boxes, complete applicable sections identifying each amendment, and attach additional
pages as necessary.

P;:rl l Disclosure
You are hereby notified that the debtor has filed amended documents:
|-‘:al'l 2 Amendments
2.1. Petition
l:i Not applicable (no amendments to Petition)

[:] The following section(s) of the Petition are amended as follows:

 

Seetion of Petition Information before amendment New information

 

 

 

 

 

 

 

2.2. List(s)
I:] Not applicable (no amendments to l_.ist(s))

|:l The following List(s) are amended as follows:

 

List lnf`ormation before amendment New information

 

 

 

 

 

Change in creditor‘s name or address on List(s):
Creditor's name andfor address before amendment Corrected creditor's name andfor address

 

 

 

 

 

 

 

2.3. Schedule(s) of Debts
I:] Not applicable (no amendments to Schedules of Debt(s)]

I§Z] Schedule(s) of Debts are amended as follows:
L.B.F`. 1009~1.1 (12111)_ _ _ _ _ . _ . _ ` , . . . Pas¢l
Sol'tware Copyrighl [c) l996-2£Il 8 Best Cnse. LLC - w\»\'w.bestcase.wm Besl Case Banln'uplcy

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Schedules AfB:

 

Description of property

lnterest in Property

Current value of entire property

Current value of portion owned

 

 

 

 

 

 

 

Schedule C:

 

Amount of the exemption you claim

Current value of debtor‘s interest

 

 

 

 

 

lf you object to this amended claim of exemption, you must tile and serve your objection within 30 days after the date this
notice is served. Objections must be filed with the Court and a complete copy must be served on debtor’s attorney or

debtor, if unrepresented.

 

 

 

 

 

 

 

 

 

Schedule D:
New creditor or Amendment to existing Creditor's name, last 4 Claim Collateral Collateral Any other
creditor digits of account #, amount value changes
mailing address
EI New creditor $EELJSSU:C|;§NTY 55,752-33 REAI.. PROP. 6,$00,000 Corrected
[E Amendment to existing credltor BR|Gm_E GRIMM| LOCATED to show as
-l-REASuRER AT 11380 secured
4430 s_ ADAMS SMITH RD. rather than
COUNTY PKWY priority
BR|GHTON, CO 80601 creditor
[] New creditor
Amendment to existing creditor
Schedule EJF:
New creditor or Amendment to existing Creditor's name, last 4 'l`otal claim Priority amount Any other
creditor digits of account #, amount (if any) changes
mailing address
[E New creditor Owens Insurance Co. Unknown
l:l Amendment to existing creditor Division of lnsurance Contingent,
1560 Broadway Disputed and
Denver, CO 80202 Unliquidated

Additional Notice:
Gregory Giometti, Esq.
Atty for Owens Ins.

50 S. Steele, #480
Denver, CO 80209

 

[:] New creditor
|:] Amendment to existing creditor

 

 

 

 

 

Schedu le G

 

ContractingfLeasing_party and address

What the contract or lease is for

 

 

 

Schedule H:

 

 

Co-debtor!spouse, former spouse, or legal equivalent; name

 

territory

Creditor to whom you owe the debt)'community state or

 

and address
L.B.F. 1_009-1.`1(12;17) __ `

Sol'tware Ccpyrighl (e) 1996-20l8 Beel Case, LLC ~ uww.beslense.cmn

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Best Case Banla'uptcy

 

 

 

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Schedule lsz

 

Amended¢'New information

 

 

 

 

 

2.4. Statements(s)
l:] Not applicable (no amendments to Statement(s))

l:l The following Statement(s) are amended as follows:

 

Statement Information before amendment New information

 

 

 

 

 

 

2.5. Addition of Creditor(s)
|:] Not applicable (no additions)
l___] Creditors have been added as follows (and Schedules D, E., or F have been amended accordingly):
[“_`l Creditors have been amended as follows:

Change in creditor's name or address:
Creditor's name andfor address before amendment Conected creditor’s name andfor address

 

 

 

 

 

 

montana of Debtor's Attorney or Debtor (if nnrepresented)

Dat¢d; March 7, 2018 By; lsl Jeffrey A. Weinman
Signature

Bar Number (if applicable):: 7605 CO

Mailing Address: 730 1?th Street
Sulte 240
Derlvar, CO BDZD§

Telephone number: 303-5?2-101o
Facsimile number: 303-572-1011
E-mail address: iWBlnman@epltn-lstee.com

|’;m -'14 Veriiication of Debtor

I declare under penalty of perjury that the foregoing is true and correct.

Dated: Mal’¢h 7, 2013 By; tel Louis Hard
Signature of debtor

 

Mailing Address:

 

Telephone number:
Facsimile number:

 

 

_L.B.F. 1009§1__.1._(12€1_7`) _. _ `
Snflware Copyl'lgl\t (c) 1996-2018 Besl Case, LLC - www.bestease.com Best Ca&c Ba.nlmlplq'

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CERT|F|CATE OF MA|L|NG

| HEREBY CERTIFY that a true and correct copy of the foregoing
CORRECTED NOTICE OF AMENDMENT OF PETIT|ON, L|STS, SCHEDULES.
STATEMENTS ANDIOR ADD|T|ON OF CRED|TORS ALONG WITH THE AMENDED
SCHEDULE D, AMENDED SCHEDULE EIF AND THE NOT|CE OF CHAPTER 11 FlLlNG
has been placed in the United States mail, postage pre-paid, on this_?l day of March,

2018, to the following:

Sarnue| Boughner, Esq.
Oftice of the U.S. Trustee
1961 Stout Street

Suite 12-200

Denver, CO 80294

11380 Smith Rd LLC
Attn: Louis Hard
11380 Smith Road
Aurora, CO 80010

Danie| J. Morse, Esq.

U.S. Trustee’s Offlce

308 W. 21" St., Room 203
Cheyenne, WY 82001

Timothy M. Swanson, Esq.
Moye White LLP

1400 16"‘ Street, Sixth Floor
Denver, CO 80202

Scott C. James, Esq.

Moye White LLP

1400 16"‘ Street, Sixth Floor
Denver, CO 80202

Adam County Treasurer
Brigitte Grimm, Treasurer
4430 S. Adams County Pkwy
Brighton, CO 80601

Owners |nsurance Co.
Division of insurance
1560 Broadway
Denver, CO 80202

 

Gregory Giometti, Esq.

Attomey for Owners |nsurance Co.
50 South Stee|e, #480

Denver, CO 80209

\s\Lisa Barenberg

CaSe:lS-lOQGB-TB|\/| DOC#238 Filed:OS/O?/J_S Entered:OS/O7/1811220244 PageB Of 11

Fill in this information to identifyf the case:

DSblOr name 11380 SM|TH RD LLC

United Staias Bankruptcy Court for ihe: DISTRlCT OF COLORADO

 

Case number iii known) 18.10965 TBM

 

l Check ll this is en
amended filing

 

Oflicial Form 2060
Schedule D: Creditors Who Have Claims Secured by property wis

 

Be as complete and accurate as possibie.

1. Do any creditors have claims secured by debtors property?
n No, Check this box and submit page 1 of this form to the court with debtors other schedules Debtor has nothing else to report on this fonn.
l Yes. Fiii in ali arms intimation beluw.

mcmillian who uaw secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

2. Lisi in alphabetical order all creditors who have secured eialms. ir a earlier has more than one secured C°""m" A C°""”°" B
clelrn. ilst the creditor separater for each clalm. mount ot claim Vslue of collateral
that supports this
Do net deduct the value claim
er eciialeral.
11380 E. Smith Rd
2‘1 |nvegunents, LLC describe debtors properly mar is subject re a lien $3,531,638.47 $6,500,000.00
W“°f'* "=“"° 11 380 Smith Road
Kresher Capital Aurora, CO
3050 Aventiura B|vd., 3rd {Estlmated Va|ue}
F|oor
l'ldiamll FL 331 80
Credier molina address Describe the lien
Deed of Trust
le the creditor an insider or related parly?
l rio
creditors mail mesa il new E] Yes
ls anyone else liable on this elaini?
bare debt was incurred El rio
October 2016 l rec Fi:l eui saneeuie H.- oodauiem roman Form zoen)
Last 4 digits cf account number
Do multiple creditors have an As ot the petition filing daie, the claim ie:
interest in the same propelty? Checii all lhal apply
l lug l:l Cont|rlgent
IJ ves. specify each eeuiiur, n U""¢l"ldal°d
inducing mls cream and is relative El oispuied
pnoriiy.
l 2.2 l Adame County Treasurer essence centers properly that is subject to a lien $56,752.38 $6,500,000.00
C~W* Nm Real property taxes due in April 2018
Brigltte Grimm, Treaeurer
4430 S. Adams County
Pkwy
Brightonz CO 80601
Creditor's meHing mm Dest:ribe the lien
ls the creditor an insider or related parly?
l no
Creditofs small address. iliinown L_J Yes
ls anyone else liable on this elelm?
Date debt was incurred l No
201 ? E| ves. l=ill uui schedule H.- cudebiars lomdai Fonn zoeH)
Last 4 digits of account number
Ofllcia| Form 2060 Schedula D: Creditore Who l-lave Clelrns Secured by Pmperty page 1 of 2
Sofivnue Copyright tc} 1996&017 Besl Case. l.Lc - m.bssicese.com Besi Case Banlwuplcv

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Deb!or 11380 leTH RD LLC case number need 13.10965 mm
horne
Do multiple creditors have an ills of the petition filing date, the claim ia:
interest tn tire same property? Check all that apply
l Ne n Contingerii
|J vee, speedy eedi crediier, 5 '-'"ll=i\"i't\liid
indudinp inie erediier end ne relative i:| seemed
pderiiy.
$3.588,390.8
3_ Totai oi the dollar amounts horn Part1, Coiumn A, including the amounts from the Aiddltlonal Page, ii any. 5

 

 

 

mgm te se headed rer a best erreer i.iered in Pert 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Exampies of entities that may be listed are collection agencies,
assignees of claims listed ehove, and attorneys for secured credibors.

ii no others need to notified ior the debts listed in Part 'l, do not iiil outer submit this page. ii additional pages are needed, copy this psge.

 

Name and address On which line in Part 1 dld Last 4 digits of
you enter tire related creditor? account number for
this entity
David Laird, Esq.
Moye White, LLP Line__iL._‘t_
1400 16th street eth Fieer

Denver, CO 80202

 

Oiiicial Form 206D Addib'onal Page of Scheduie D: Creditors Who Have Clairns Secured by Property page 2 of 2

Sofiware Copyrigbt ici 1996-2017 Bsst Case, LLC » wiv.beslcsse.oom Baat Csss Bankruplcy

U_.

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Fi'l| in this information to identity tile casc:

Ddblol name 11380 SM|TH RD LLC

Uilited Siates Banltruptcy Coi.lrtfcrr the: D|STRICT OF COLORADO

 

Case number Gf kncrvn) 18-10965 TBM

 

 

Officiai Form 206E/F

Schedu|e EIF: Creditors Who Have Unsecured Ciaims

Be as complete end accurate as possible. Use Fart 1 for creditors with PRlORlT’( unsecured claims and Part 2 for creditors with NONFR|CRIT¥ unsecured claims.

List the other party to any executory contracts or unexpired leases that ceul
Pieraorrai' Properry ioiiicial Form deAi`B) and on Schedui‘e G:
2 in the boxes on the ielt. ll more space is needed for Part 1 o

ListAii creditors with enroan unsecured claims

1. Do any creditors have priority unsecured clalrrrs? {See 11 U.S.C. § 50?).

l rtc_ ce tc Partz.
Cl Yes. Go to line 2.

List Air creditors with NoNPRtonrrY unsecured claims

3. List in alphabetical order allot the creditors with non

out and attach the Additlona| Pege of Part 2.

Nonpriority creditors name and mailing address

As of the petition illing date, the claim is: check et trier appiy.

Henzei, Tim Ei contingent
1510 Jade Roacl E| unliquidated
Columbia. MO 05201 g Disputed

Daiis{s) debt was incurred _
Last 4 digits of account numborH

Baais forthe ciaim: Loarl
is the ctasrn subject tc arisen l rtc Ei res

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l Check if this is an
amended iiiing

12i'15

d result in a claim. Nso list executory contracts orr Scheduie Ar'B: rissets - Reai' and
Executory Gontracts and Unexpired i.aases {Otiiciel Form 2006|. Numbar tire entries in Perts 1 and
r Part 2, liil out and attach the Additional Page of that Part included in this forrrr.

priority unsecured claims ii the debtor has more than 6 creditors with nonpriority unsecured claims, iiil
Amount of claim

$1,200,000.00

 

 

Nonprlority creditors name and mailing address As of the petition iillng date. tire claim is: check storer ep.ery, Unkrlowl'l
Owners insurance Company l Cm"ngen,
Division of insurance
1550 ereadvray - U""°“’°"*‘°"
Denver, CO 80202 l Disputed
Datie{sl debt was incurred 2017 Basis forthe cla|m: Attot't‘ley_'s fees and expenses
Last 4 digits ot account number _ is me dam subject m mm - No f:] Yes
\E tionpriorlty creditors name and mailing address its of the petition filing date, the claim is: checkerrirer spent $32,000.00
Xce| Energy Ci contingent
P.O. Box 94?? ij unliquidated
Minneapo|is, MN 55484-9477 g Dispu,ed
Da‘°(°l dam ""” ‘"°“'“’" -QM sears rertne clsrrn: Utllity services

Lasl. 4 digits 01 account number 641 3

rs the claim subtectte odeco l rtc El res

 

List Others to Be Notified About Unsecurad Clairns

4. List in alphabetical order any others who must be notified l'or claims listed in Farts 1 and 2. Exampies cl eniidas that may be listed are collecuon agencies
assignees of claims listed above. and attorneys for unsecured creditors

ii no artists need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. ll additional pages are needed, copy the next poge.

blame and mailing address Oll which line in Part‘l or Part 2 is the Lesi. 4 digits of
related creditor iii anyl listed? account number. it
any
Oliicta| Form 205Er'F Schedule E.iF: Creditors Who i-iave Unsecured C|alms page 1 oi 2
Soflwaro Copyri'gl'd (c} 1096-201? Besi Csse. i.LC - www.besilcsss.corn 51509 Boat Case Bsriid'l.q)tcy

W,.

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clele 11380 SMITH RD LLC Case number ill known) 18-10965 TBM
name
Narne and mailing address Dn which line ln Part1 or Part 2 is tile Last 4 dlglte of
related creditor {lf any) llslaed? account numbor. ll
any
4-1 Gregory Glometti, Esq.
cio Gregory R. Glometti & Assoc. Line L _
50 South Steele, #480
oenver, co soon n "°* '*=‘e"- E*PW" _-

 

m Amounts of the Prlorll.y and Nonpriori§' Unsecured Clalms
5. Add the amounts of priority and nonpriority unsecured claims.
` _ _ Totai"oi_.claim_amounts :__`_' `_ '_-`_-`
Sa. Tota| claims from Part 1 Sa. $ o_°o

 

 

 

 

se. 'reiel elaine item Pen 2 Sb- + 5 1,232.000.0|1
Sc. Total of Farts 1 and 2
i.ines se + 5b = se se. s 1,232,000.00
Cilllda| Form 206 El‘F Schedule ElF: Creditore llllho l-laile Urisecured Clalms Page 2 or 2
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Case:lB-lOQSE-TBM Doc#:15 Filed:02i20118 Entered:0212011810:25:21 Pagel 013

information to identif the case:

D°b*°' 11330 slurri-i no LLc ElN 46-47663°9
l~larrre

 

  

 

United Stales Bankrt.iptcy Courl District of Colorado
Case number: 18-10965-TBM

Date case filed for chapter 1 1 2i'13118

 

 

Oflicial Form 309F (For Corporations or Partnerships)

 

Notice of Chapter 11 Bankruptcy Case 12l11

 

For the debtor listed above, a case has been filed under chapter 11 of the Banlrruptcy Code. An order for relief has
been entered.

Thls notl_ce has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlinos. Read both pages carefully.

The llling erthe case lmposed an automatic stay against most collection activitiesl This means that creditors generally may not take action to collect debts
from the debtor or the debtor’s progeny For example. while the stay le in efiect, ueditors cannot sue, assert a delic|ency, repossess propd . or
otherwise try to collect from the do or. Cledllors cannot demand rs ayrnent from lite debtor by mail, phone, or olhenlrlse. Creditors who vio ala the stay
carr be required to pay actual and punitive damages and attorneys ees.

Corll‘irmaliort of a drapter 11 plan mcmann in a discharge cl debl. A creditor who wants to have a particular debt excepted horn dlscha e may he
required to tile a complaint in the ban ptcy clerk's oilice within the deadline specilied in this notice. {See line 11 below for more lnfo on.}

To protect your ngtts. consult an attomeié All documents tried in the case may be inspected at the bankruptcy clerk's olilce at the address listed below or
through PACER( ub||c Accese lo Court iectron|c Reoords et W.

 

‘l'he staff ofthe bankruptcy clerlr'e eflice cannot give legal advice.

 

Do not file title notlce with any proof of claim or other filing in the case.

 

1. Debfor‘s full name 11380 SM|TH RD LLC

 

2 Ai| other names used in the

 

 

° last B years
11380 Smith Road
3- Address enters co 30010
chlrey Weinman _ _
4 Debt°r'$ attorney 73017“1 St. Conlact phone 303 572 1010
' Name end address StB. 240 Emai|

Deni.ler. CO 80202

 

 

5- Bankruptcy clerk's oflice i-ioi.irs moon Monday - Friday 8:00 AM -
Documenls in this case may be filed US Bankruptcy Coui-t 4:30 P
gift thlrsn:dci|nr:$m` eli records else in US C"'St°m H°"S°
n?;‘es§sn'i’l?§'snmmnn.,n ?21 19"\ Si- Contaci phone 120-904~1300
W Denver, CO 80202~2508
Date: 2120.¢18
6. L tion:
¥:,:‘§?,d§u§§,.§fe:,'?r,§g§§%, mg$, ed weren 23. 2018 at ol:oo Piili °°°
il i’l l'l'lBB ll l.iBS Ol't
unr:g|r oath. gm b q m The meeti may be condoned or adjourned lo a later 1533%&“!:§%$'::§:§?!'353£:$:`9’
gq m m 313 :;le . ut are n dats. ll so. dale will be orr the court docket R°°m ci norman co aozg4

 

 

Forl more lnformation, see page 2 >

Notice ol Cltapter 1 1 Bankruptcy Case page 1

 

 

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Oiiiciai Form SDQF For Corporations or Partrierships}
COB#?BO b309f_1 b

 

 

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CElSe!lB~lOQBS-TBM DOC#ZJ.B Filed:OZlZOllB Et'lfel’ed!OZ)'ZO/lB 10:25:21 PageS 0f3

Debtor 11380 SMITH RD LLC Csse number 18-10965-TBM

 

7. Proof of claim deadline Dead|ine for filing proof of claim: Not yet set. lf a deadline is set, the court will send
you another notice.

A proof of claim is a signed statement describing a creditol's cleirn. A proof 01 claim form may be obtained
at WLQL or any bankruptcy ciat'k's ellice.

Your claim will be allowed in the amount scheduled unless:

, your claim is designated as dla uled, contingent or unliquidated.‘
. you tile a proof el claim ln a d erent amount or
. you receive another nollce.

ll your claim is riot scheduled or ll ur claim le designated as disputed, contingenl, or unliquidated you
must tila a prootot claim or you m tit not be paid on your claim and you might be unable to vote on a pian.
You may tile a proof ol claim oven l your claim is scheduled.

You may review lite schedules et the bankruptcy clark's ofiice or on|ine at Wy.

Secured creditors retain rights in their collateral regardless of whether they file a proof cl ciaim. Fiiing a
proof ol claim submits a creditor to the iulisdiction of the bankruptcy court, with consequences a lawyer carl
e leln. For examp|e. a secured creditor who liles s proof of claim may surrender important nonmonetary
rig tsl including die right to a jury triai.

 

8. Exception to discharge lt § 523(¢) applies to your claim and you seek to have it excepted from discharge. you must start a judicial
deadline proceeding by tillng a complaint by lite deadline stated below.
The bankruptcy clerk's office must

§§2;'“,§:§§""}§'?§{;§$,?:9°¢'3§'§?"‘§§°“ oeadllne for filing the complaini:

 

if you ere a creditor receiving notice mailed to a foreign sddress, u may tile a motion asking lite court to
9, cc;§d“°"s "“'"h a '°"°'9" attend ina deadlines in this notice consult nn alicmay familiar wyo united states bankruptcy law ltyou
a ross have any questions about your rights in this case.

 

Chapter 11 allows debtors to reorganize or |ll:|:i|date according to a plarl. A plan ls not effective unless the
court coner il. ‘i’ou may receive a copy oil e plan end a disclosure statement telling you about lite plan,
Fillt'lg a Chapter 11 andryou rria have the opportunity to vote on the plan. You will receive notice of the data ot tile continuation
bankruptcy cage lies ng. a you may ob act to continuation of the plan and attend the condonation nearlng. Unless a
gus|tae is serving. the d tor will remain in possession oi the property and may continue lo operate its
us ness.

10.

 

Coritirn'iation oi a chapter 11 plan may result in a discharge oi debts. which may include all or artot your

debt. See 11 U.S.C. § 1141(d . A discharge means that creditors may never try to collect the abt from the
11. Dlschal'ge Df debts debtor except as provided |n |en. ll you want to have a particular debt owed to you alice ed_frorn the

discharge and 11 U.S.C. %1523 cYapplies to r cla|m. you must start a judicial proceeding tillng a

complaint and paying the ing ea in the ban ptcy clerk's ollice by tile daadline.

 

 

O|'t'tcial Form 309F lFor Corporations or Partnerships} Notice ot Chaptar 11 Banitruptcy Case page 2

 

